        Case No. 1:24-cv-02147-KAS Document 8-2 filed 08/05/24 USDC Colorado pg 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Colorado
                                                               District of __________

      ANGEL EHRLICH,MADELIENE POWERS,                               )
     JENNIFER MCDONALD, HANNAH MILLER,                              )
     MYRIAH MONTOYA, SHELANDRA BATTLE                               )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:24-cv-02147
                                                                    )
   ROCKY MOUNTAIN CRISIS PARTNERS f/d/b/a                           )
    METRO CRISIS SERVICES Inc; BEVERLY                              )
       MARQUEZ; AND YOLANDA HOWE                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Beverly Marquez: 1355 S Colorado Blvd, C900, Denver, CO 80222 and a principal
                                           mailing address of P.O. Box 460695, Denver, CO 80246




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Iris Halpern and Crist Whitney
                                           Rathod Mohamedbhai LLC, 2701 Lawrence St., #100 Denver, CO
                                           80205, 303-578-4400; and Raymond K. Bryant
                                           1543 Champa St. #400
                                           Denver, Colorado 80201
                                           720 515-6165

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
         Case No. 1:24-cv-02147-KAS Document 8-2 filed 08/05/24 USDC Colorado pg 2 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:24-cv-02147

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
